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                      EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ALERA GROUP, INC.                                 )
a Delaware corporation,                           )
                                                  )
                                                  )
                       Plaintiff,                 )
                                                  )
       v.                                         )          Case No.
                                                  )
BROOKS HOUGHTON and                               )
JORDAN HOUGHTON, individuals,                     )
                                                  )
                       Defendants.                )

                                          COMPLAINT

       Plaintiff Alera Group, Inc. (“Alera” or the “Company”), by and through its attorneys, K&L

Gates LLP, brings this Complaint for breach of contract, tortious interference with business

relations, and injunctive relief (the “Complaint”) against Defendants Brooks Houghton (“Brooks”)

and Jordan Houghton (“Jordan”) (individually, each a “Defendant” and collectively

“Defendants”), stating as follows:

                                        INTRODUCTION

       1.      Plaintiff Alera is one of the largest property and casualty and employee benefits

insurance brokers in the United States, and is headquartered in Deerfield, Illinois.

       2.      Alera serves thousands of clients nationally in employee benefits, property and

casualty, retirement services, and wealth management. Alera’s mission is to create an unrivaled

client experience by providing best practices, thought leadership, and smarter strategies, fueled by

fierce national collaboration and trusted local delivery.
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       3.      Defendant Brooks operated his own insurance business under the name Strategic

Insurance Agency, LLC (“Strategic”) until August 2017. Defendant Jordan, Brooks’ brother, also

worked at Strategic with Brooks as an insurance agent.

       4.      On or about August 8, 2017, Brooks sold the assets of Strategic to Banasky

Insurance, Inc. (“Banasky”)

       5.      Brooks received significant consideration for the sale of the assets of Strategic. In

return, and as part of the consideration for that sale, Brooks agreed to a two-year restrictive

covenant, prohibiting Brooks from engaging in a competitive business with Banasky and from

using or disclosing Banasky’s confidential information.

       6.      Simultaneously with the sale of Strategic, Brooks entered into an employment

agreement with Banasky on September 1, 2017 (the “Brooks Employment Agreement”). A true

and correct copy of the Employment Agreement is attached hereto as Exhibit A.

       7.      As a condition of his employment with Banasky, and as set forth in the Brooks

Employment Agreement, Brooks agreed to certain restrictive covenants.             Specifically, the

Employment Agreement included provisions addressing confidentiality and nondisclosure as well

as noncompetition with Banasky.

       8.      Upon the sale of Strategic to Banasky, Jordan also became an employee of Banasky.

       9.      On August 1, 2020, Alera acquired Banasky in an asset purchase transaction.

       10.     In connection with the sale of Banasky to Alera, a new corporate entity named

“Banasky, an Alera Insurance Agency, LLC” was created. Banasky, an Alera Insurance Agency,

LLC is a Delaware limited liability corporation. Plaintiff Alera is the sole member of Banasky, an

Alera Insurance Agency, LLC.




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       11.     After the sale of Banasky to Alera, Brooks and Jordan became employees of

Banasky, an Alera Insurance Agency, LLC.

       12.     As a condition of employment with Banasky, an Alera Insurance Agency, LLC,

both Brooks and Jordan each executed a Producer Agreement (the “Producer Agreement”) and a

Restrictive Covenant Agreement (the “Restrictive Covenant Agreement”).           True and correct

copies of these agreements are contained in Exhibit B to this Complaint (Brooks Producer

Agreement) and Exhibit 1 to Exhibit B (Brooks Restrictive Covenant Agreement) and Exhibit C

(Jordan Producer Agreement) and Exhibit 1 to Exhibit C (Jordan Restrictive Covenant

Agreement).

       13.     Alera is a party to the Brooks Producer Agreement, the Brooks Restrictive

Covenant Agreement, the Jordan Producer Agreement, and the Jordan Restrictive Covenant

Agreement.

       14.     As part of these Agreements, Brooks and Jordan promised that during their Alera

employment, they would not compete with Alera, solicit customers for any business that competes

with Alera, divert or take away any customers of business of Alera, and promote or assist any

competitor of Alera. (Ex. 1 to Ex. B, § 1(b)(i); Ex. 1 to Ex. C, § 1(b)(i)).

       15.     Brooks’ employment with Alera ended on May 27, 2021.

       16.     Defendant Brooks held a position of trust with Alera. Most recently, Brooks

worked as a Producer, responsible for client relations, services, sales and marketing, and

maintenance of client relationships with valued customers.           In this position, Brooks was

responsible for knowing, amassing, and safeguarding detailed and sensitive information about

company operations, policies, procedures, and performance in the marketplace.




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       17.     As part of the various agreements he entered into, specifically the Employment

Agreement, the Producer Agreement, and the Restrictive Covenant Agreement, Brooks agreed to

refrain from competing with Alera as well as soliciting, diverting, enticing, or otherwise interfering

with any clients, customers, business, patronage or orders related to Banasky.

       18.     Following the termination of his employment with Banasky and Alera, and while

he is still obligated to comply with his obligations under the Producer Agreement and Restrictive

Covenant Agreement, Brooks has, on information and belief actively misled Alera’s clients as to

the existence and scope of his obligations, and solicited and targeted current Alera clients to

interfere with their contractual relationship with Alera, in direct violation of his contractual

obligations.

       19.     Upon information and belief, and based on the specific facts alleged below, Brooks

continues to unfairly solicit and poach current Alera clients in violation of his contractual

obligations.

       20.     Jordan’s employment with Alera ended on or about December 23, 2022.

       21.     Defendant Jordan also held a position of trust with Alera. Most recently, Jordan

worked as a Producer, responsible for client relations, services, sales and marketing, and

maintenance of client relationships valued customers. In this position, Jordan was responsible for

knowing, amassing, and safeguarding detailed and sensitive information about company

operations, policies, procedures, and performance in the marketplace.

       22.     Pursuant to the Producer Agreement, and the Restrictive Covenant Agreement,

Jordan agreed to refrain from competing with Alera as well as soliciting, diverting, enticing, or

otherwise interfering with any clients, customers, business, patronage or orders.




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        23.     Following the termination of his employment with Alera, and while he is still

obligated to comply with his obligations under the Producer Agreement and Restrictive Covenant

Agreement, Jordan has solicited and targeted current Alera clients to interfere with their

contractual relationship with Alera, in direct violation of his contractual obligations.

        24.     Alera made written demands to Brooks and Jordan to cease violating their

contractual obligations to Alera. Brooks and Jordan have ignored those written demands and

continue to violate their respective Producer Agreements and Restrictive Covenant Agreements.

        25.     Alera is suffering, and will continue to suffer, irreparable harm in terms of lost

client relationships and goodwill from Brooks’ and Jordan’s ongoing violations of their contractual

obligations.

        26.     Alera has suffered substantial damages from Brooks’ and Jordan’s past material

breaches of their respective contractual obligations.

        27.     By this action, Alera seeks to restrain and enjoin both Brooks and Jordan from

engaging in activities in further breach of their contractual obligations, to recover damages

suffered as a result of Brooks’ and Jordan’s wrongful acts.

                                   PARTIES AND CITIZENSHIP

        28.     Plaintiff Alera is incorporated in Delaware, and is registered with the Illinois

Secretary of State as a foreign corporation. Alera is therefore a citizen of the State of Delaware.

        29.     Alera’s corporate headquarters are located in Deerfield, Illinois. Alera is therefore

also a citizen of the State of Illinois.

        30.     Brooks was domiciled in the State of Utah during the period relevant to this lawsuit.

On information and belief, Brooks Houghton’s domicile is 807 E. Pacific Drive, American Fork,

Utah 84003. Brooks is therefore a citizen of Utah because he is domiciled in Utah.



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       31.     Defendant Jordan was domiciled in Utah during the period relevant to this lawsuit.

On information and belief, Defendant Jordan Houghton’s domicile is 1799 S 250 W, Lehi, Utah

84043. Brooks is therefore a citizen of Utah because he is domiciled in Utah.

                                AMOUNT IN CONTROVERSY

       32.     Brooks’ clients generated an annual revenue to Alera in excess of $2 million.

       33.     Jordan’s clients generated an annual revenue to Alera in excess of $3 million.

       34.     Alera seeks injunctive relief to protect the client relationships and associated

goodwill for the clients that Brooks and Jordan worked with and serviced, as well as damages for

the former Alera clients already lost due to Brooks’ and Jordan’s violations of their Restrictive

Covenant Agreements.

                                 JURISDICTION AND VENUE

       35.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(1)

because (a) Plaintiff Alera is a citizen of Delaware and Illinois and Defendants are both citizens of

Utah, so Plaintiff and the Defendants are citizens of different States, and (b) the matter in

controversy exceeds $75,000, as alleged in Paragraphs 32 through 35.

       36.     Brooks and Joran both “consent[ed] to personal jurisdiction” in any “court of

competent jurisdiction … in the State of Illinois.” Ex. B, Section 15, and Ex. 1 to Ex. B, Section

12 and Ex. C, Section 15, and Ex. 1 to Ex. C, Section 12 (“Both parties agree that any action,

demand, claim or counterclaim relating to the terms and provisions of this Agreement or to its

breach, shall be commenced only and exclusively in the State of Illinois in a court of competent

jurisdiction, and Associate hereby consents to personal jurisdiction and venue in such court(s).”).

       37.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Brooks and

Jordan agreed that any action relating to the terms of their respective Producer Agreements and



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Restrictive Covenant Agreements “shall be commenced only and exclusively in the State of Illinois

in a court of competent jurisdiction,” and Brooks and Jordan “consent[ed] to … venue in such

court(s).” Ex. B, Section 15, and Ex. 1 to Ex. B, Section 12 and Ex. C, Section 15, and Ex. 1 to

Ex. C, Section 12.

                                                  FACTS

       A.      Alera’s Business.

       38.     Alera is an independent national insurance and financial services firm that assists

businesses with various insurance products and financial services, including but not limited to,

employee benefits and wealth management.

       39.     Alera was established in 2017 through a merger of 24 companies, working together

to leverage powerful relationships, industry expertise, and resources with the goal of elevating

client satisfaction while comprehensively fulfilling client needs. Today, Alera has more than 125

companies across the country, including Banasky, an Alera Insurance Agency, LLC, with its

headquarters and central operations located in Deerfield, Illinois.

       40.     Through the merger, Alera developed unique, specialized, innovative, and strategic

ways of packaging its insurance products and structuring its services to meet its clients’ needs,

which affords the opportunity to provide a national scope of services while maintaining local

relationships. Alera, and its subsidiary companies prior to acquisition by Alera, have made a

concerted effort to keep all such customer and strategic information confidential. Alera, and its

subsidiary companies prior to acquisition by Alera, provide customer information only to those

employees who need to know such information to perform their job duties. The information is

also the subject of reasonable efforts to maintain and preserve its confidentiality and secrecy

including but not limited to: limiting access to employees on a need to know basis, requiring



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employees to execute confidentiality agreements and restrictive covenants, maintaining the

information in secure offices and facilities, password protecting computer databases, and similar

security measures.

       41.     In order to effectively market Alera’s and its subsidiary companies’ products and

services to existing and prospective clients, Producers such as Defendants are provided with and

otherwise have access to protected, highly confidential information relating to Alera’s offerings,

including data as to the structure of its services, pricing, benefit plan design strategies, marketing

plans, customer information, and other information critical to Alera’s competitive advantage.

       B.      Alera’s Relationship with Brooks.

       42.     Defendant Brooks operated his own insurance business, Strategic, until August 8,

2017. On August 8, 2017, Brooks sold the assets of Strategic to Banasky.

       43.     Brooks was hired by Banasky on August 8, 2017, concurrent with the acquisition

of Strategic by Banasky. Brooks received significant consideration for the sale of the assets of

Strategic and in return agreed to various restrictive covenants, prohibiting Brooks from competing

with Banasky for a period of two years in addition to restrictions related to customer non-

solicitation, non-interference, and nondisclosure and non-use of Banasky’s Confidential

Information.


       44.     Simultaneously with the sale of the Strategic, Brooks entered into the Employment

Agreement with Banasky on September 1, 2017.

       45.     As a condition of employment and as set forth in the Employment Agreement,

Brooks agreed to certain restrictive covenants, addressing confidentiality and nondisclosure as

well as noncompetition and non-solicitation for a three (3) year period following the termination

of his employment with Banasky.

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       46.    On August 1, 2020, Banasky was acquired in an asset purchase by Alera, thereby

joining the Alera corporate family. In connection with the sale to Alera, Banasky and Brooks

mutually entered into the Payoff Agreement settling all of the outstanding balance Banasky owed

Brooks under the Purchase Agreement.

       47.    Also in connection with the sale of Banasky to Alera, Brooks also entered into the

Producer Agreement and the Restrictive Covenant Agreement to which Alera is a party.

       48.    Simultaneously, Jordan also entered into an identical Producer Agreement and

Restrictive Covenant Agreement to which Alera is a party.

       49.    Section 10 of the Producer Agreement states that each Defendant “will execute and

agrees to abide by the terms of the restrictive covenant agreement.” Ex B, Section 10; Ex C,

Section 10.

       50.    The Producer Agreement further provides the following:

              Purchase of Business. The Company and Associate agree that there
              are many different ways to violate the Restrictive Covenant
              Agreement contemplated under the terms of the Restrictive
              Covenant Agreement, each of which could cause irreparable harm
              to the Company. The parties specifically agree that any post-
              employment or post-engagement contact Associate makes to the
              Company’s customers or prospects (as defined in the Restrictive
              Covenant Agreement) will cause injury to the Company even if the
              contact does not immediately or directly result in Associate writing
              business for a Company customer or prospect. The parties therefore
              agree that there is no adequate remedy at law if Associate violates
              the terms of the Restrictive Covenant Agreement. However, in the
              event that Associate or any business or entity with whom Associate
              works either as an employee or otherwise actually writes business
              for any customer or Prospect (as defined in the Restrictive Covenant
              Agreement) of the Company after Associate leaves the Company
              and during the Protected Period (as defined in the Restrictive
              Covenant Agreement), whether or not the Company has obtained or
              has attempted to obtain equitable relief, the Company, at its election,
              may deem that Associate has elected to purchase from the Company
              the business with respect to such customer or Prospect, and upon
              written demand, Associate shall pay to the Company an amount

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               equal to two (2) times the gross revenue received by the Company
               (including any predecessor) for the preceding twelve (12) months
               with respect to any business customer purchases in connection with
               the business services Associate renders, or two (2) times the
               expected gross revenue for any Prospect. The parties intend this
               provision to be a reasonable estimation of damages which the
               Company may invoke if Associate or any business or entity with
               whom Associate works either as an employee or otherwise during
               the Protected Period actually writes business for a Company
               customer or prospect. All remedies contained in this Agreement and
               the Restrictive Covenant Agreement are cumulative and may be
               exercised singularly or concurrently, and the exercise of any one
               shall not be deemed a waiver of any other. (Ex. B, § 11; Ex. C, §
               11).

       51.     Section 1(b)(i) of the Restrictive Covenant Agreement states that

               While employed or engaged by the Company, [Defendant] will not
               compete with the Company anywhere in the world. In accordance
               with this restriction, but without limiting its terms, while employed
               or engaged by the Company, [Defendant will not: (1) enter into or
               engage in any business which competes with the Company’s
               Business; (2) solicit customers, business, patronage or orders for, or
               sell, any products or services in competition with, or for any
               business that competes with, the Company’s Business; (3) divert,
               entice, or otherwise take away, and/or do business with, any
               customers, business, patronage or orders of the Company or attempt
               to do so; or (4) promote or assist, financially or otherwise, any
               person, firm, association, partnership, corporation or other entity
               engaged in any business which competes with the Company’s
               Business.” (Ex. 1 to Ex. B, § 1(b)(i); Ex. 1 to Ex. C, § 1(b)(i)).

       52.     Section 1(b)(ii) of the Restrictive Covenant Agreement prohibits each Defendant

from soliciting and/or doing business with any Alera “Client” for two years after the termination

of their employment (the “Restricted Period”). (Ex. 1 to Ex. B, § 1(b)(ii); Ex. 1 to Ex. C § 1(b)(ii)).

       53.     Section 14(a) of the Restrictive Covenant Agreements defines “Client,” and limits

“Client” to those that Brooks and Jordan, respectively (i) provided company products or services

to during the twelve months preceding the end of their employment, (ii) were responsible for

manager or supervising or sold company products or services during the twelve months preceding



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the end of their employment, and/or (iii) about whom they received confidential company

information as a result of the company providing products or services within the twelve months

preceding the end of their employment. (Ex. 1 to Ex. B, § 14(a); Ex. 1 to Ex. C § 14(a)).

       54.     The Restrictive Covenant Agreement further provides in relevant part:

               Further Covenants. Associate will keep in strict confidence, and will
               not, directly or indirectly, at any time, during or after Associate’s
               employment or engagement with the Company, disclose, furnish,
               disseminate, make available or, except in the course of performing
               Associate’s duties of employment or engagement, use any
               Confidential Information (as defined below), without limitation as
               to when or how Associate may have acquired such information. Ex.
               1 to Ex. B, § 5; Ex. 1 to Ex. C, § 5.

       55.     As Producers, Brooks and Jordan were responsible for developing new clients from

referrals, making outbound calls and networking; creating insurance proposals tailored to fit a

client’s unique needs by appropriately determining carrier placement as well as coverages; and on-

boarding clients by providing a thorough introduction to policy service resources. Each of Brooks

and Jordan were also responsible for retaining existing clients in their assigned book of accounts.

       56.     As part of those responsibilities, Brooks and Jordan had (and were required to have

in order to perform their jobs) unrestricted access to certain confidential and proprietary

information, including, but not limited to, information concerning:

               a. Sales strategies;

               b. Client lists;

               c. Renewal lists;

               d. Advertising techniques;

               e. Benefit plan design strategies;

               f. Pricing information – both generally and for particular clients;

               g. Contracts with insurance companies;

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               h. Renewal proposals;

               i. Customer specific information such as payment histories, quotas, budgets and

                   contact information;

               j. Internal cost data;

               k. Product and service lists for specific clients; and

               l. Operational data for multiple accounts correlating with Alera’s business

                   strategy.

       C.      Brooks Materially Breaches his Producer Agreement and Restrictive
               Covenant Agreement

       57.     Following the termination of his employment with Alera, Brooks began

communicating with former clients in breach of the Employment Agreement, Producer

Agreement, and the Restrictive Covenant Agreement. Specifically, Brooks has successfully

directed multiple clients to terminate their business with Alera and transfer their business to a

competing insurance broker iDrive Insurance LLC (“iDrive”).

       58.     According to records available through the Utah Secretary of State’s web site,

iDrive’s Registered Agent is Jamie D. Nielsen (“Nielsen”).

       59.     Upon information and belief, Nielsen managers and operates iDrive.

       60.     Nielson was formerly employed by Strategic and worked with Brooks up until the

sale of Strategic to Banasky.

       61.     Upon information and belief, Brooks continues to be a close associate of Nielsen,

and is soliciting his former Alera clients away to iDrive.

       62.     Upon information and belief, Brooks and Nielson operate a payroll company in

Utah, American Benefits of Utah, Inc. (“American Benefits”).




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       63.     Upon information and belief, Brooks used his operation of American Benefits to

solicit Alera clients to terminate their relationship with Alera and transfer their business to iDrive.

       64.     During the Restricted Period, two major insurance carriers verbally notified Alera

that Brooks contacted them on behalf of iDrive to generate business for iDrive.

       65.     During the Restricted Period, one of Alera’s former clients to which Brooks

provided Alera products and services, and a client for which Brooks was responsible for managing

Alera’s relationship within the twelve months before the end of his Alera employment, and a client

for which Brooks was responsible for managing Alera’s relationship within the twelve months

before the end of his Alera employment -- “Client A” -- (a) transferred its business from Alera to

iDrive, and (b) verbally informed Alera that Brooks issued an insurance policy to it through iDrive.

Brooks’ conduct with regard to Client A violates his Restrictive Covenant Agreement.

       66.     During the Restricted Period, another one of one of Alera’s former clients to which

Brooks provided Alera products and services, and a client for which Brooks was responsible for

managing Alera’s relationship within the twelve months before the end of his Alera employment,

and a client for which Brooks was responsible for managing Alera’s relationship within the twelve

months before the end of his Alera employment -- “Client B” -- (a) transferred its business from

Alera to iDrive, and (b) confirmed to Alera in writing that it “decided to use Brooks for the coming

year.” Brooks’ conduct with regard to Client B violates his Restrictive Covenant Agreement.

       67.     During the Restricted period, another of Alera’s former clients to which Brooks

provided Alera products and services, and a client for which Brooks was responsible for managing

Alera’s relationship within the twelve months before the end of his Alera employment, and a client

for which Brooks was responsible for managing Alera’s relationship within the twelve months

before the end of his Alera employment -- “Client C” -- (a) transferred its business from Alera to



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iDrive, and (b) inadvertently sent an email to Brooks’ former Alera email account, the substance

of which indicates that Brooks is performing insurance work for Client C. Brooks’ conduct with

regard to Client C violates his Restrictive Covenant Agreement.

        68.     During the Restricted period, another of Alera’s former clients to which Brooks

provided Alera products and services within the twelve months before the end of his Alera

employment, and a client for which Brooks was responsible for managing Alera’s relationship

within the twelve months before the end of his Alera employment -- “Client D” -- (a) transferred

its business from Alera to iDrive, and (b) inadvertently sent an email to Brooks’ former Alera

email account, the substance of which indicates that Brooks is performing insurance work for

Client D. Brooks’ conduct with regard to Client D violates his Restrictive Covenant Agreement.

        69.     During the Restricted Period, numerous other former Alera clients to which Brooks

provided Alera products and services, and for which Brooks was responsible for managing Alera’s

relationship within the twelve months before the end of his Alera employment, terminated their

relationships with Alera and transferred their business to iDrive. On information and belief, and

based on Brooks’ conduct regarding Clients A, B, C. and D as alleged above, Brooks violated his

Restrictive Covenant Agreement with regard to these other former Alera clients.

        70.     In an effort to stop Brooks’ conduct short of litigation, in both September and

November 2022, Alera sent Brooks a letter demanding that Brooks immediately cease his

solicitation of Alera clients.

        71.     Despite being warned to cease his active solicitation of Alera clients in violation of

his post-employment obligations, Brooks continued to solicit Alera clients he managed and

serviced during the last twelve months of his employment.




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       72.     As of the date of this Complaint, over fifteen of Alera clients Brooks managed and

serviced in the twelve months before the end of his Alera employment have left Alera and

transferred their business to iDrive. In total those clients generated annual revenues for Alera in

excess of $200,000.

       D.      Jordan Materially Breaches his Producer Agreement and Restrictive

Covenant Agreement

       73.     After Jordan’s employment with Banasky, an Alera Insurance Agency, LLC,

ended, Jordan became affiliated with iDrive, as evidenced by “Active Agency Affiliations

information available on the website of the Utah Insurance Department:




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          74.   On or about January 24, 2023, Alera received notification that a client Jordan

managed and serviced during the last twelve months of his Alera employment was terminating its

relationship with Alera and transferring its business to iDrive, naming Jordan as its new agent of

record at iDrive:




          75.   On or about January 25, 2023, another client for which client Jordan managed and

serviced during the last twelve months of his employment verbally notified Alera that it was

moving all of its business to Jordan at iDrive.

          76.   On or about January 26, 2023, Alera received notification that another client Jordan

managed and serviced during the last twelve months of his employment was terminating its

relationship with Alera and transferring its business to iDrive, naming Jordan as its new agent of

record:

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       77.     January 27, 2023, Alera received notification that another client Jordan managed

and serviced during the last twelve months of his employment was terminating its relationship

with Alera and transferring its business to iDrive, naming Jordan as its new agent of record:




       78.     Despite being warned via correspondence from Alera to cease his active solicitation

of Alera clients in violation of his post-employment obligations, Jordan continued to solicit Alera

clients he managed and serviced during the last twelve months of his employment.

       79.     Jordan’s actions are causing and continuing to cause irreparable harm to Alera’s

goodwill in its business and with its clients. As such, Alera is without an adequate remedy at law.




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                                            COUNT I

BREACH OF THE PRODUCER AGREEMENT AND THE RESTRICTIVE COVENANT
            AGREEMENT (AGAINST DEFENDANT BROOKS)

        80.      Paragraphs 1 through 79 of the Complaint are hereby incorporated by reference as

though set forth in full.

        81.      The Restrictive Covenant Agreement contained in Brooks’ Producer Agreement is

valid, enforceable, and supported by adequate consideration.

        82.      Through his Producer Agreement, Brooks agreed to abide by the terms of the

Restrictive Covenant Agreement. Brooks was aware of his post-employment obligations upon

signing the Restrictive Covenant Agreement.

        83.      Alera has protectable interests in its confidential information and its customer

relationships.

        84.      Alera has fully performed all obligations to Brooks under both the Producer

Agreement and Restrictive Covenant Agreement.

        85.      Brooks has breached his Producer Agreement and Restrictive Covenant Agreement

by soliciting and diverting away clients he managed and serviced during the last twelve months of

his employment.

        86.      As a direct and proximate result of Brooks’ past breaches of the Producer

Agreement, and the Restrictive Covenant Agreement, Alera has suffered lost revenue in excess of

$230,000.




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                                               COUNT II

          BREACH OF THE PRODUCER AGREEMENT AND THE RESTRICTIVE
             COVENANT AGREEMENT (AGAINST DEFENDANT JORDAN)


        87.      Paragraphs 1 through 79 of the Complaint are hereby incorporated by reference as

though set forth in full.

        88.      The Restrictive Covenant Agreement contained in the Producer Agreement is valid,

enforceable, and supported by adequate consideration.

        89.      Through the Producer Agreement, Jordan agreed to abide by the terms of the

Restrictive Covenant Agreement. Jordan was aware of his post-employment obligations upon

signing the Restrictive Covenant Agreement.

        90.      Alera has protectable interests in its confidential information and customer

relationships.

        91.      Alera has fully performed all obligations to Jordan under both the Producer

Agreement and Restrictive Covenant Agreement.

        92.      Jordan has breached his Producer Agreement and Restrictive Covenant Agreement

by soliciting and diverting away clients he managed and serviced during the last twelve months of

his employment.

        93.      As a direct and proximate result of Jordan’s past breaches of the Producer

Agreement, and the Restrictive Covenant Agreement, Alera has suffered lost revenue in excess of

$100,000.

        94.      Alera seeks injunctive relief against Jordan to halt his continued violations of his

Producer Agreement and Restrictive Covenant Agreement. The value of the business Alera seeks

to protect exceeds $3 million.



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       95.    Alera’s ongoing loss of client relationships and goodwill is causing Alera

irreparable harm which cannot be remedied in money damages.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Alera Group, Inc. respectfully requests that this Court issue a

judgment in its favor and against Brooks Houghton and Jordan Houghton, and enter an order:

              (i)     Enjoining Defendants from violating the client solicitation restrictions
                      contained in their Restrictive Covenant Agreements;

              (ii)    Directing Defendants to abide by the terms of their Producer Agreements
                      and Restrictive Covenant Agreements;

              (iv)    Directing Defendants to return to Alera any and all confidential or trade
                      secret information, knowledge, or data obtained from Alera or Banasky;

              (v)     Directing Defendants to provide an accounting of all sums earned by
                      Defendants from the actions described in the Complaint;

              (vi)    Awarding to Alera any and all monetary damages sustained as a result of
                      Defendants’ past contractual violations, and sums owed under their
                      respective Producer Agreements and Restrictive Covenant Agreements;

              (vii)   Awarding to Alera the cost of the suit, including attorneys’ fees pursuant to
                      Defendant’s respective Producer agreements and Restrictive Covenant
                      Agreements; and

              (viii) Such other relief as the Court deems to be fair and appropriate.




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                                       Respectfully submitted,
                                       ALERA GROUP, INC.
                                       Plaintiff


Date: February 22, 2023          By: /s/ Brian E. Spang________________
                                        One of its Attorneys


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